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                           UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                                 )
   In re:                                        )     Chapter 11
                                                 )
   ALLEN L. REAGAN,                              )     Case No. 20-11161-TMD
                                                 )
                          Debtor.                )     Ref. Dkt. No. 89, 92, 93
                                                 )

     JOINDER OF CBL & ASSOCIATES MANAGEMENT, INC. TO OBJECTIONS TO
      PLAN OF REORGANIZATION FOR SMALL BUSINESS UNDER CHAPTER 11


            CBL & Associates Management, Inc. (“CBL”), an unsecured creditor, by and through the

  undersigned counsel, hereby objects to Debtor’s First Amended Plan of Reorganization for Small

  Business Under Chapter 11 [Dkt. No. 89] (the “Plan”) by incorporating by reference as if restated

  herein and joining in those certain Limited Objections to First Amended Plan of Reorganization

  for Small Business Under Chapter 11 [Dkt. No. 92] filed by Michael G. Colvard, Subchapter V

  Trustee and Objection to First Amended Plan of Reorganization [Docket No, 93] filed by Village

  @ La Orilla LLC (collectively, the “Objections”).

            WHEREFORE the reasons set forth in the Objections, CBL respectfully requests that this

  Court deny confirmation of the Plan.

  DATED: March 16, 2021

                                               Respectfully Submitted,

                                               /s/ Jameson J. Watts
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                                      (512) 479-1101 Facsimile

                                      Attorneys for CBL & Associates Management, Inc.
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 25, 2021, a true and correct copy of the foregoing
  document was served on the parties listed below via the Court’s ECF System and via E-Mail.

  David M Blau on behalf of Creditor Merle         Robert J. Diehl, Jr. on behalf of Creditor
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  Louis D. Lopez on behalf of Interested Party       Mark Curtis Taylor on behalf of Debtor
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                                             Bruce John Zabarauskas on behalf of
                                             Creditor Wells Fargo as Trustee for the
                                             benefit of the Holders of COMM 2014-
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                                      /s/ Jameson J. Watts
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